        Case MDL No. 2875 Document 211 Filed 01/30/19 Page 1 of 1




                   BEFORE THE UNITED STATES JUDICIAL
                   PANEL ON MULTIDISTRICT LITIGATION

IN RE: VALSARTAN N-
NITROSODIMETHYLAMINE                                MDL Docket No. 2875
(NDMA) PRODUCTS LIABILITY LITIGATION

                          NOTICE OF RELATED ACTIONS

       Pursuant to Rule 6.2(d) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Plaintiff Betty Selph hereby notifies the Clerk of the

Panel of the related action listed on the attached Schedule of Actions. Copies of the

docket sheet and the complaint are also attached. Plaintiff Betty Selph’s complaint

involves common factual questions with those actions presently pending transfer to the

District of New Jersey on Plaintiff Robert Kruk’s Motion to Transfer Actions [D.E. 1].


Dated: January 30, 2019                      Respectfully Submitted,
                                            /s/ Annesley H. DeGaris
                                            Annesley H. DeGaris, Esq.
                                            DeGaris & Rogers, LLC
                                            Two North Twentieth Street
                                            Suite 1030
                                            Birmingham, AL 35203
                                            adegaris@degarislaw.com
                                            asapone@degarislaw.com
                                            (p) 205-558-9000
                                            (f) 205-588-5231

                                            and

                                            Harold T. McCall, Jr.
                                            Wayne Wright LLP
                                            5707 Interstate Ten West
                                            San Antonio, TX 78201
                                            Telephone: (210) 888-8888
                                            Email: hmccall@waynewright.com

                                            Attorneys for Plaintiff Betty Selph
